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                  21-1365
              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SECOND CIRCUIT
___________________________________________________________________________________________________________________


     SELINA SOULE, a minor, by Bianca Stanescu, her mother;
  CHELSEA MITCHELL, a minor, by Christina Mitchell, her mother;
   ALANNA SMITH, a minor, by Cheryl Radachowsky, her mother;
   ASHLEY NICOLETTI, a minor, by Jennifer Nicoletti, her mother,
                                                          Plaintiffs-Appellants,
                                                        v.
    CONNECTICUT ASSOCIATION OF SCHOOLS, INC. d/b/a
CONNECTICUT INTERSCHOLASTIC ATHLETIC CONFERENCE;
  BLOOMFIELD PUBLIC SCHOOLS BOARD OF EDUCATION;
   CROMWELL PUBLIC SCHOOLS BOARD OF EDUCATION;
 GLASTONBURY PUBLIC SCHOOLS BOARD OF EDUCATION;
CANTON PUBLIC SCHOOLS BOARD OF EDUCATION; DANBURY
        PUBLIC SCHOOLS BOARD OF EDUCATION,
                                                         Defendants-Appellees,
                                                      and
     ANDRAYA YEARWOOD; THANIA EDWARDS on behalf of her
     daughter, T.M.; CONNECTICUT COMMISSION ON HUMAN
                           RIGHTS,
                                 Intervenors-Appellees.
_________________________________________________________________
  On Appeal from the United States District Court for the District of
             Connecticut, Case No. 3:20-cv-00201 (RNC)
_________________________________________________________________

          REPLY EN BANC BRIEF OF APPELLANTS
_________________________________________________________________
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                             INTRODUCTION
     No one doubts Plaintiffs had standing when they filed this law-

suit. And no reason exists to reach a different conclusion now. Plaintiffs
plausibly alleged a cornucopia of injures in fact caused by CIAC’s policy.
Over three years after this case was filed, courts still haven’t addressed,
let alone redressed, even one of their injuries—past, present, or
future—despite the fact that the CIAC’s own policies allow for record
changes. That is wrong, and it conflicts with rulings by at least four

other circuits. Courts routinely recognize student athletes’ ongoing
interest in vindicating the records they’ve earned. That principle doesn’t
change simply because litigation is high profile or the merits are
disputed. Jurisdictional rules are the same no matter the parties’
identities. This Court should reverse and remand for a merits ruling.

I.   Defendants get basic elements of the standing inquiry at
     the pleadings stage wrong.

     A.     The standing bar is low.
     Defendants try to make a mountain out of mole hill. E.g.,
Defs.Br.20–21, 32–33. But, at the pleading stage, the standing bar is

low. The injury-in-fact requirement ensures that plaintiffs are
“‘adversely affected’ or ‘aggrieved,’” separating those “with a direct
stake in the outcome . . . from a person with a mere interest in the

problem.” United States v. Students Challenging Regulatory Agency
Procedures (SCRAP), 412 U.S. 669, 689 n.14 (1973). But it does not test



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the magnitude of a plaintiff’s injury. A “small” injury or “identifiable
trifle is enough,” id., and the injury “need not be large,” LaFleur v.
Whitman, 300 F.3d 256, 270 (2d Cir. 2002) (quotation omitted). Nor
must harmful consequences be certain. “Even a small probability of
injury is sufficient to create a case or controversy” so long as “the relief

sought would, if granted, reduce the probability” of harm. Massachu-
setts v. EPA, 549 U.S. 497, 525 n.23 (2007) (cleaned up). (Intervenors
concede “Plaintiffs have alleged an injury in fact.” Intervenors.Br.28.)
      Redressability is much the same. Plaintiffs must show only “a
substantial likelihood that the requested relief will remedy the alleged
injury in fact.” Vt. Agency of Nat. Res. v. U.S. ex rel. Stevens, 529 U.S.
765, 771 (2000) (emphasis added) (cleaned up). Allegations showing a
court order will “significant[ly] increase . . . the likelihood” plaintiffs
will obtain relief that “redresses the injury suffered” are enough. Utah
v. Evans, 536 U.S. 452, 464 (2002). No certainty is required.
      Boiled down, Article III requires a plaintiff to “allege facts demon-
strating that [s]he is a proper party to invoke judicial resolution of the

dispute and the exercise of the court’s remedial powers.” Warth v.
Seldin, 422 U.S. 490, 518 (1975). Here, CIAC’s policy forced Plaintiffs to
compete against—and lose to—biologically male competitors, depriving
them of their Title IX rights and diminishing their official athletic
records and resumes. Plaintiffs are the ideal people to seek judicial
resolution of the dispute regarding Title IX’s requirements.


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     B.     Standing is determined when the complaint is filed;
            mootness is different.
     Defendants and Intervenors focus on anything but the time when
Plaintiffs filed the complaint. E.g., Defs.Br.41–45; Intervenors.Br.18–
19, 31. Nonetheless, an injury in fact and redressability are standing
elements. Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,
528 U.S. 167, 180–81 (2000). Standing is determined “at the outset of
the litigation,” id. at 180, “when the complaint is filed,” Lujan v. Defs. of

Wildlife, 504 U.S. 555, 569 n.4 (1992) (cleaned up). Plaintiffs bear the
burden of showing standing. Id. at 561. Yet, at every stage of the case,
“the standing inquiry remains focused on whether [Plaintiffs] had the
requisite stake in the outcome when the suit was filed.” Davis v. FEC,
554 U.S. 724, 734 (2008).
     “[I]nitial standing to bring suit” differs from “post[-]commence-
ment mootness.” Friends of the Earth, 528 U.S. at 174; accord id. at
189–92. Subsequent events may render legal issues “no longer ‘live’” or
deprive the parties of “a legally cognizable interest in the outcome.”

Chafin v. Chafin, 568 U.S. 165, 172 (2013) (quotation omitted). But a
case is “moot only when it is impossible for a court to grant any effec-
tual relief whatever to the prevailing party.” Id. (quotation omitted).

When a party has “a concrete interest, however small, in the outcome”
the case is live, id. (quotation omitted), as “a partial remedy” forestalls
mootness, Calderon v. Moore, 518 U.S. 149, 150 (1996) (per curiam)



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(quotation omitted). And the party suggesting mootness—here,
Defendants—“bears the burden to establish that a once-live case has
become moot.” West Virginia v. Env’t Prot. Agency, 142 S. Ct. 2587, 2607
(2022).
     Most of Defendants’ complaints are really about mootness, not

standing. E.g., Defs.Br.33–34; Intervenors.Br.31–32. So the burden is
on them—not Plaintiffs—to establish the impossibility of a court
granting effectual relief, even in part. Michigan v. Long, 463 U.S. 1032,
1042 n.8 (1983). Defendants have not carried that burden.

     C.     To show standing, plaintiffs need plausible
            allegations, not detailed pleadings or proof.
     Defendants and Intervenors fault Plaintiffs for not providing more
elaborate allegations or proof. E.g., Defs.Br.7, 30; Intervenors.Br.12–13.
Neither is required. On a motion to dismiss, courts “draw from the
pleadings all reasonable inferences in the plaintiff’s favor” and “pre-
sume that general allegations embrace those specific facts that are
necessary to support the claim.” John v. Whole Foods Mkt. Grp., Inc.,

858 F.3d 732, 737 (2d Cir. 2017) (cleaned up). Plaintiffs bear “no
evidentiary burden.” Id. at 736 (quotation omitted). Their task is to
allege “facts that affirmatively and plausibly suggest . . . standing to

sue.” Id. (quotation omitted).
     When the complaint was filed, Plaintiffs’ allegations demonstrated
they had standing. Soule, Mitchell, Smith, and Nicoletti were in high



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school and members of the girls’ varsity track team. App.132–33. Under
CIAC’s policy, Plaintiffs were forced to compete against Miller and
Yearwood—two biological males. App.150–62. And Plaintiffs nearly
always lost to them. App.152–62, 168–70. This unfair competition
caused Plaintiffs emotional and psychological distress, anxiety, and

depression. App.163–64. It also deprived them of medals, high-level
opportunities to compete, and recognition on the victory podium—all of
which were important to scouts and harmed Plaintiffs’ contemporary
efforts to obtain college scholarships. App.148, 156–62, 170, 173–75.
      Plaintiffs’ official athletic records and rankings also suffered
reduction and inaccuracy. App.148, 156–62, 171–72. A timely court
ruling that Title IX precluded CIAC’s policy, an award of nominal
damages, and an injunction barring the CIAC and its members from
enforcing the policy would have saved Plaintiffs from further injury and
remedied most of their existing harms. App.175–77.
     So Plaintiffs clearly had standing when the complaint was filed.
No one seriously contests that fact. E.g., App.267. It is not Plaintiffs’

fault that the district court refused to act on their motion for prelimi-
nary injunction, waited for Miller and Yearwood to graduate, then
retroactively held that Plaintiffs lacked “standing” based on post-filing
events 14 months after the case began.




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      D.     A single plaintiff with standing is enough.
      Defendants claim that several Plaintiffs experienced no real harm.

E.g., Defs.Br.8–9, 40–42. That is wrong because CIAC’s policy forced all
named Plaintiffs to compete against biological males, causing them to
lose high-level opportunities to compete and/or medals or other
accolades. App.152–59. What’s more, this critique is irrelevant. “At
least one party must demonstrate Article III standing for each claim for
relief.” Little Sisters of the Poor Saints Peter & Paul Home v. Pennsyl-

vania, 140 S. Ct. 2367, 2379 n.6 (2020). There is no need for every plain-
tiff to do so. And CAIC’s policy deprived Plaintiff Mitchell of several
gold medals. That’s sufficient.

II.   Plaintiffs plausibly alleged an injury in fact.

      A.     Intervenors admit that Plaintiffs plausibly alleged an
             injury in fact. Defendants’ arguments to the contrary
             are meritless.
      Intervenors admit that “Plaintiffs have plausibly alleged an injury
in fact because each Plaintiff has identified at least one specific instance
in which she allegedly raced against—and finished behind—a” biologi-
cal male. Intervenors.Br.25, 28–29. Defendants deny it. First, they cite
the difference between an “injury in law” and an “injury in fact.”
Defs.Br.17–18. But Plaintiffs are not alleging mere statutory noncom-
pliance. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2206–07 (2021).
Defendants’ Title IX violation personally harmed Plaintiffs. And they
have plausibly alleged “monetary” and “cognizable intangible harm[s]”


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as a result. Id. at 2206; accord En.Banc.Br.30–31. Plaintiffs “seek[ ] to
remedy . . . harm[s] to [themselves].” TransUnion, 141 S. Ct. at 2206.
      Second, Defendants say that no student has standing when a Title
IX violation inflicts widespread injury on girls. Defs.Br.19. But “where a
harm is concrete, though widely shared, the [Supreme] Court has found

‘injury in fact.’” FEC v. Akins, 524 U.S. 11, 24 (1998) (quotation omit-
ted). What matters is that “each individual suffers a particularized
harm.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 n.7 (2016). And Plain-
tiffs have plausibly alleged individualized injuries here. En.Banc.Br.32–
35.
      Third, Defendants “reveal[ ] the basic flaw in [their] argument,”
West Virginia, 142 S. Ct. at 2607, when they say that Plaintiffs’ efforts
to prospectively enjoin the CIAC policy’s “application to future high
school races were mooted by the[ir] graduation.” Defs.Br.20 (emphasis
added). “It is the doctrine of mootness, not standing, that addresses
whether an intervening circumstance has deprived the plaintiff of a
personal stake in the outcome of the lawsuit.” West Virginia, 142 S. Ct.

at 2607 (cleaned up). Plaintiffs’ completed and ongoing injuries in fact—
and their standing to sue—did not vanish on graduation. Contra
Defs.Br.33. Nor is the case moot because “interim relief or events
have[n’t] completely and irrevocably eradicated the effects of the alleged
[Title IX] violation.” L.A. Cnty. v. Davis, 440 U.S. 625, 631 (1979); Davis
v. New York, 316 F.3d 93, 99 (2d Cir. 2002); accord En.Banc.Br.35–38.


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     Fourth, Defendants malign Plaintiffs’ long list of injuries in fact,
En.Banc.Br.26–30, as “the same purported harm of not placing higher—
including first—in the races in which they competed.” Defs.Br.21 n.19.
That’s wrong, but no matter because Defendants essentially admit that
Plaintiffs alleged an actual or imminent, concrete, and particularized

injury in fact at the outset. And Plaintiffs’ emotional and psychological
distress still qualifies as an injury in fact, En.Banc.Br.28, even though
the Supreme Court recently held that injury is not redressable through
money damages, Cummings v. Premier Rehab Keller, 142 S. Ct. 1562,
1576 (2022); Defs.Br.21.
     Fifth, Defendants argue that CIAC’s policy “does not affect
Plaintiffs’ [athletic] records.” Defs.Br.23. That claim is plainly wrong
and denies the Complaint’s allegations. App.150–62. Without CIAC’s
policy, Miller and Yearwood couldn’t have participated in girls’ track.
And if Miller and Yearwood hadn’t competed against Plaintiffs, the
female athletes’ records would have improved either by showing that
they advanced to state-wide meets, set school records, or obtained

higher-ranking medals. En.Banc.Br.13–14, 34. Defendants effectively
concede that Mitchell “would have finished fi[r]st” in certain races “but
for the presence of Miller and Yearwood” and, in another race, would
have received a silver medal instead of no medal. Defs.Br.46 n.24.
     This permanent harm to Plaintiffs’ athletic records is a concrete
injury in fact. En.Banc.Br.28–29. It’s no answer to say that Plaintiffs


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may attempt to deviate from what their official records say. Defs.Br.47.
Employers would likely regard that strategy as resume inflation or
dishonesty, magnifying the harm to their career prospects.
     Nor is it reasonable to assume that employers would credit
Plaintiffs’ original race records over their corrected ones. Id. There’s no

indication that’s been an issue for professional athletes, En.Banc.Br.51–
53, and there’s no reason to think it would be a problem for Plaintiffs
either. “[S]tanding in this case does not disappear by imagining a
contrarian employer with a different measure of success. . . . [S]tanding
is created because of the predictable response of employers to the
records.” En Banc Amicus Br. of 40 Business Executives at 13. Here,
Plaintiffs’ employment interest in correcting their “record[s] is not
guesswork, because the response by the employers is predictable.” Id.
     Sixth, Defendants say that the injury to Plaintiffs’ official record
of athletic achievement is merely a “‘psychic’” injury. Defs.Br.57
(quotation omitted). Not so. Supra Part II.A. The Complaint plausibly
alleges that Defendants’ Title IX violation personally harmed Plaintiffs

by downgrading their official athletic records. En.Banc.Br.28–30, 32–35.
They seek the “remediation of [their] own injur[ies],” i.e., corrected
athletic records, not a psychic “interest in faithful execution of” Title IX.
Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 106 (1998)
(quotation omitted).




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     Last, it’s no answer for Defendants to say that Plaintiffs weren’t
shut out of track championships altogether or somehow “harmed
enough.” Defs.Br.23, 29. As noted above, any injury in fact—even a
small one—resulting from CIAC’s policy gives Plaintiffs standing.
Supra Part I.A. And there is nothing trivial about subjecting Plaintiffs

to unfair competition, shutting them out of high-level races, degrading
their medals and records, displacing them on the podium, causing
Plaintiffs’ emotional and psychological distress, and reducing their
ability to impress scouts and obtain college scholarships.

     B.     The CIAC policy’s impact on Plaintiffs’ competitive-
            ness in the marketplace is simply one reason this case
            isn’t moot.
     Defendants protest that there’s nothing in the Complaint about
harm to Plaintiffs’ career prospects. Defs.Br.30–31, 39–40; Interve-
nors.Br.31. But when the Complaint was filed, Plaintiffs were high
school athletes pursuing college admissions and scholarships. Plaintiffs
alleged that CIAC’s policy damaged those current interests. And a
timely judicial ruling in Plaintiffs’ favor would have remedied those
harms. Plaintiff had standing at the outset.
     Now, the issue is mootness, and the question is whether a court
can “grant any effectual relief whatever” if Plaintiffs prevail. Campbell-

Ewald Co. v. Gomez, 577 U.S. 153, 161 (2016) (quotation omitted). The




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answer is “yes” due to the CIAC policy’s negative “downstream conse-
quences” for Plaintiffs’ resumes and career prospects. TransUnion, 141
S. Ct. at 2214 (quotation omitted). Just like CIAC’s policy injured Plain-
tiffs’ ability to compete for college admissions and athletic scholarships
when the complaint was filed, App.130–31, 156, 159, 174, it harms

Plaintiffs’ competitiveness in the job market today. The ongoing harm is
the same; the arena has simply shifted from higher education to the job
market. Both the district court and the panel properly considered
Plaintiffs’ employment-related arguments. App.277–78; Soule by
Stanescu v. Conn. Ass’n of Schs., Inc., 57 F.4th 43, 52–53 (2d Cir. 2022).
     Defendants deride the CIAC policy’s lasting harm to Plaintiffs’
resumes and career prospects. Defs.Br.30–31. But “a concrete interest,
however small, in the outcome of the litigation” prevents mootness.
MOAC Mall Holdings LLC v. Transform Holdco LLC, 143 S. Ct. 927,
934 (2023) (quotation omitted). Resisting Defendants’ claim that no
actual controversy exists does not require Plaintiffs to present allega-
tions or evidence. Contra Defs.Br.30–31. They must explain only how “a

court can fashion some form of meaningful relief.” Church of Scientology
of Cal. v. United States, 506 U.S. 9, 12 (1992). And a court order requir-
ing Defendants to correct Plaintiffs’ athletic records is a “possible
remedy” to address the ongoing harm to Plaintiffs’ athletic achieve-
ments and competitiveness in the marketplace. Id. at 13; accord
App.175–77.


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     Defendants say that the injury to Plaintiffs’ resumes doesn’t count
because any employment benefit is speculative. Defs.Br.39–48. That
Plaintiffs’ list of athletic achievements would have improved but for
CIAC’s policy isn’t “guesswork”—it’s fact. Defs.Br.32, 45, 48 (quoting
Clapper v. Amnesty Int’l USA, 568 U.S. 398, 413 (2013)). And more or

better accolades would certainly benefit Plaintiffs’ resumes and career
prospects. Again, the improvement’s magnitude is irrelevant. Just as an
injury in fact “need not be large,” LaFleur, 300 F.3d at 270, the uptick
in Plaintiffs’ resumes and career prospects, “however small,” as a result
of upgraded athletic records prevents mootness, MOAC Mall Holdings,
143 S. Ct. at 934 (quotation omitted).
     This case is nothing like Clapper.1 The plaintiffs there couldn’t
show “that they had been or were likely to be subjected to [the] policy”
in question. FEC v. Cruz, 142 S. Ct. 1638, 1647 (2022). Here, Plaintiffs’
ongoing “injuries are directly inflicted by [Defendant’s] . . . enforcement
of the [CIAC policy] they . . . challenge.” Id. Enhancing Plaintiffs’
official records of athletic success has a “predictable effect” on

employers and customers alike—it bolsters Plaintiffs’ resumes and

1 Nor is this case anything like City of Los Angeles v. Lyons, 461 U.S. 95
(1983). Defs.Br.16. There, the plaintiff lacked standing to seek injunc-
tive relief because the defendant’s unlawful acts had no “continuing,
present adverse effects” on him, Lyons, 461 U.S. at 102 (quotation
omitted), and there was no “real and immediate threat” that the
plaintiff’s injury would reoccur, id. at 105. Here, CIAC’s policy has
continuing adverse effects on Plaintiffs’ athletic records and resumes.


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attractiveness in the marketplace. Dep’t of Com. v. New York, 139 S. Ct.
2551, 2566 (2019). It makes no difference how large the boost. Any
increase gives Plaintiffs a “concrete interest . . . in the outcome of the
litigation.” MOAC Mall Holdings, 143 S. Ct. at 934 (quotation omitted).
     Amici confirm that athletic honors matter to careers. Sports

achievements offer cache in the marketplace because many people value
“trophies, gold medals, and prestige.” En Banc Amicus Br. of Tennessee
& 22 Other States at 22 (quotation omitted). What’s more “[r]ecords of
athletic participation and accomplishment predict labor market
success,” including “the skills necessary to lead teams.” En Banc
Amicus Br. of 40 Business Executives at 1. Business leaders explain
that “correct records of [Plaintiffs’] accomplishments will predictably
open opportunities for higher level jobs,” id. at 7, while “[d]epriving
Plaintiffs of correct records of athletic achievement will predict[ab]ly
harm them,” id. at 9. So Plaintiffs have an ongoing injury that prevents
mootness.
     As female athletes emphasize, Plaintiffs’ “record of athletic

achievement” is something that will “accompan[y] them for life—
opening doors, bridging cultural divides, and creating good will.” En
Banc Amicus Br. of Int’l Consortium on Female Sports at 3. Plaintiffs’
have a concrete interest in maximizing their successes in sport because
“athletic titles and placements achieved in one’s youth can unlock
opportunities throughout one’s life.” Id. at 36.


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     Female Olympic rowers’ experience confirms this. They verify that
“female athletes’ professional development is directly related to their
athletic achievements.” En Banc Amicus Br. of Female Olympic Rowers
at 3. “[P]olicies like CIAC’s deprive female athletes [like Plaintiffs] of
recognition, medals, records, and awards—all of which could be cited on

a resume or used to attract a potential employer—and destroy the
equality of opportunity Tile IX was meant to ensure.” Id. at 20–21.
     Defendants’ narrow view of courts’ jurisdiction makes it impossi-
ble for girls and women to remedy the inequalities that Congress
enacted Title IX to fix. Litigation is slow and high school fleeting. If
losing gold-medal listings on a resume doesn’t preserve a female ath-
letes’ case, then recipients will be free to engage in the most egregious
Title IX violations and get off scot-free. For example, Defendants could
disband sex-based track teams entirely, create a single co-ed track team
on which everyone had an opportunity to compete, and only biological
males would receive gold medals as a result. Yet under Defendants’
theory, the female athletes willing to sue could be kicked out of court.

     C.     Other Courts of Appeals’ rulings in student record
            cases confirm Plaintiffs’ harm is ongoing, not moot.
     Defendants contend that athletic-records decisions by other

Courts of Appeals are inapposite because they considered mootness.
Defs.Br.22, 24. But for a court to determine a case isn’t moot and reach
the merits, it must first conclude that a plaintiff “had Article III



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standing at the outset of the litigation,” Friends of the Earth, 528 U.S.
at 180, including an “injury in fact,” id. at 180–85. What’s more, no one
seriously argues that Plaintiffs lacked standing when this case was
filed, so the real issue here is mootness too.
     Take McPherson v. Michigan High School Athletic Association,

Inc., 119 F.3d 453, 455 (6th Cir. 1997) (en banc), which involved a
student athlete who sued the state athletic association and later gradu-
ated from high school. “[N]o reasonable expectation of another contro-
versy over [the student’s] eligibility to play high school basketball”
existed. Id. at 458. But the case wasn’t moot, the Sixth Circuit said,
because a ruling would still “make a difference to the legal interests of
the parties.” Id. (quotation omitted). The student would be injured by
“forfeit[ing] to . . . opponents those team victories in which [he]
participated,” as well as by the association’s efforts to “vacate or strike
[his] records” or those of “his basketball team.” Id. at 459.
     The only variance here is that Plaintiffs seek to enhance their
high school athletic records rather than preserve them. But that distinc-

tion makes no difference to Plaintiffs’ ongoing injury and current
interest in correcting their records. Either way, the lasting harm of
maintaining incorrect records is the same.
     Or consider Crane v. Indiana High School Athletic Association,
975 F.2d 1315, 1318 (7th Cir. 1992), where a student athlete sued the
state athletic association for barring him from varsity golf for a year,


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obtained an injunction enabling him to play golf that year, after which
the injunction expired. The appeal wasn’t moot, the Seventh Circuit
said, because the student’s “individual and team records, . . . victories
won by the team,” and “individual and team awards” were at stake. Id.
Specifically, the athletic association—the party invoking appellate

jurisdiction—sought “the return of these awards” and the forfeiture of a
“sectional golf championship,” and thus had “a very real, legal interest
in the outcome of” the case. Id. at 1318–19.
      Crane focused on the athletic association’s ongoing harm or
interest in the accuracy of its records. Defs.Br.25. But jurisdictional
issues like standing or mootness don’t turn on a party’s identity or on
which side of the “v.” they find themselves. The Seventh Circuit held
there was jurisdiction to consider the association’s attempt to correct its
athletic records. And that means this Court has jurisdiction over Plain-
tiffs’ effort to correct their athletic records too.
      The Eighth Circuit’s ruling in Pottgen v. Missouri State High
School Activities Association, 40 F.3d 926 (8th Cir. 1994), confirms this.

There, the state athletic association barred a student from playing
baseball his senior year, the student obtained a preliminary injunction,
and later “played his last game.” Id. at 928. “[A] live controversy still
exists,” the Eighth Circuit said, because “permanent [athletic] records
and awards were” at stake. Id. So too here.




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     Equally telling is Wiley v. National Collegiate Athletic Association,
612 F.2d 473, 474–75 (10th Cir. 1979), where an athletic association
deemed a college athlete ineligible, the student obtained an injunction
to run track, and later graduated. On appeal, the Tenth Circuit ruled
that “a substantial controversy still exists” because the association

intended “to adjust [the student’s] points and vacate any places earned
in Big Eight championships” if it won. Id. at 475–76. “As long as
[athletic] records and awards are at stake,” the Tenth Circuit held, a
“court can render a decision that will affect the rights of the litigants.”
Id. at 476.
     CIAC policy’s degrading of Plaintiffs’ official athletic records was
an injury in fact when this lawsuit was filed. And the same ongoing
injury preserves Plaintiffs’ stake in this case’s outcome now.
      Defendants’ efforts to distinguish other circuits’ educational-
records decisions similarly fail. Defs.Br.26–27, 55–56. It makes no
difference, for example, that “Plaintiffs did not perform poorly” in girls’
track. Defs.Br.27. Pluses and minuses are both relevant to students’

permanent education records. That is why professional resumes and
biographies commonly feature “awards” sections that employers and
consumers highly esteem. Both achievements and failings matter to
students’ marketability and career success. Specifically, sports records
and trophies matter to students, schools, and athletic associations. And
they matter to many employers and consumers. Supra Part II.B.


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     What’s more, Defendants are wrong to treat students’ athletic
records as non-educational or trivial. Defs.Br.56. Title IX only applies to
“education program[s] or activit[ies].” 20 U.S.C. § 1681(a). Congress
specifically included athletic programs in that rubric. Pub. L. No. 93-
380, § 844, 88 Stat. 484, 612 (1974); En.Banc.Br.5–6. And it did so for

good reason: athletic opportunities are “an integral part of the educa-
tional process.” More Hurdles to Clear: Women and Girls in Competitive
Athletics, U.S. Comm’n on Civ. Rts. at iii (July 1980).

III. Plaintiffs’ have plausibly alleged their injuries are
     redressable.

     A.     Nominal damages will likely redress Plaintiffs’
            completed harms.
     Intervenors admit that Plaintiffs’ injury in fact “is redressable
through damages, including nominal damages.” Intervenors.Br.30;
accord id. at 26, 34. And Defendants concede that “nominal damages
may be available in some Title IX cases,” but contend they’re “not
available in this particular case by virtue of Pennhurst State School and
Hospital v. Halderman, 451 U.S. 1, 17 (1981).” Defs.Br.37 (emphasis
added). This argument confuses justiciability with the merits. “[S]tand-
ing in no way depends on the merits of” Plaintiffs’ claims, Warth, 422
U.S. at 500, including the “merits” issue of whether Plaintiffs “state a

claim upon which relief can be granted,” Rosado v. Wyman, 397 U.S.
397, 403 n.3 (1970).



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      The Supreme Court held that “a request for nominal damages
satisfies the redressability element of standing where a plaintiff’s claim
is based on a completed violation of a legal right.” Uzuegbunam v.
Preczewski, 141 S. Ct. 792, 802 (2021). And that rule doesn’t even
consider—let alone depend on—whether the plaintiff actually obtains a

nominal damages award. Rather, “a request for nominal damages,” in
and of itself, demonstrates “the necessary redress for a completed
violation of a legal right.” Id. at 802.

      B.     Declaratory and injunctive relief will likely redress
             Plaintiffs’ ongoing harms.
      Plaintiffs request a declaratory judgment that CIAC’s policy

violates Title IX and an injunction ordering Defendants to correct their
official athletic times, victories, qualifications, and record times—giving
the female athletes the credit and titles they deserve. App.176. This
relief would have redressed Plaintiffs’ ongoing harm of downgraded
official athletic records and less-stellar resumes when this case was
filed, and it would redress the same lasting harm now. Where no

“interim relief or events have completely and irrevocably eradicated the
effects of the alleged [Title IX] violation,” the case is live and
redressability is not an issue. Davis, 440 U.S. at 631.

      Defendants’ and Intervenors’ contrary arguments fall flat. First,
they say that students’ ability to seek prospective relief disappears
when they graduate. Defs.Br.33; Intervenors.Br.26, 34. But what



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matters is if plaintiffs allege “downstream consequences” of defendants’
allegedly unlawful conduct that could potentially be—but haven’t yet
been—remedied. TransUnion, 141 S. Ct. at 2214 (quotation omitted).
Here, Plaintiffs’ official athletic records and resumes are more injured
now than they were when the complaint was filed because Plaintiffs

were forced to keep competing against biological males. And prospective
relief upgrading their official records could redress those injuries.
     Second, Defendants maintain that it’s impossible to correct
Plaintiffs’ athletic records. Defs.Br.52–53. Yet they admit “the realloca-
tion of medals sometimes occurs in high-level sports competitions, such
as the Olympics.” Id. at 51 n.26. Defendants’ only rejoinder is that “[t]he
Olympics is a private organization that is not governed by Title IX.” Id.
But that logic helps Plaintiffs: if organizations that are not subject to
Title IX can correct and upgrade athletic records retroactively, then
Defendants who are subject to Title IX certainly can. What’s more, “[i]f
Olympic athletes—performing on the world’s highest stage—can be
stripped of their medals, rightfully returning medals to high school

students should be an eminently reasonable remedy.” En Banc Amicus
Br. of 21 Athletic Officials and Coaches of Female Athletes at 16–17.
     Third, Defendants argue that “Plaintiffs have not shown that
there is a proper legal framework for invalidating or altering [their
athletic] records.” Defs.Br.52 (quotation omitted). Yet Defendants cite
no basis for that obligation at the pleadings stage. The Supreme Court


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rejected a similar argument in the mootness context. When respondents
raised an argument about “the legal availability of a certain kind of
relief,” the Court refused to consider it because petitioner’s requested
remedy wasn’t “so implausible that it was insufficient to preserve
jurisdiction.” MOAC Mall Holdings, 143 S. Ct. at 935 (quotations

omitted). Nor is Plaintiffs’ requested prospective relief “so implausible”
that redressability is lacking here.
     Fourth, Defendants and Intervenors try to distinguish CIAC’s own
rules, Defs.Br.49–53; Intervenors.Br.33–34, which expressly authorize
retroactive record changes in “the interest[s] of restitution and fair-
ness.” CAIC 2022-2023 Handbook at 53, https://perma.cc/9U2W-
WBQW. The point remains: if athletic records can change because of
CIAC rule violations, they can certainly change based on a violation of
Title IX. En.Banc.Br.49. Defendants and Intervenors cite no persuasive
reason otherwise. They merely claim CIAC’s rules aren’t a perfect fit.
Either way, they’re relevant and support redressability.
     For instance, Defendants expunge the records of athletes who take

steroids, CIAC 2022-2023 Handbook at 103, which are often synthetic
modifications of testosterone, App.140. Biological males naturally
produce radically more testosterone than biological females, giving
them a competitive edge. App.140–41. And testosterone-suppressing
drugs can’t erase that advantage. App.146–47.




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      Defendants also subtract points and readjusts rankings when
ineligible students compete. CIAC 2022-2023 Handbook at 97. Here, the
essence of Plaintiffs’ claims is that Title IX renders biological males
ineligible to compete on girls’ track teams. E.g., App.130–32.
      Finally, if a student competes under a court order and that order

is later cancelled (i.e., once competition is over), CIAC vacates or strikes
individual or team records, reassigns victories, and revokes awards.
CIAC 2022-2023 Handbook at 53. Plaintiffs ask for essentially the same
remedies if a court rules that CIAC’s policy violated Title IX.
      Fifth, Defendants and Intervenors maintain that correcting Plain-
tiffs’ athletic records would retroactively change the rules. Defs.Br.34,
51; Intervenors.Br.32–34. That gets things backwards and confuses
jurisdiction with the merits. Under the Supremacy Clause, a federal
statute like Title IX, trumps state regulations like CIAC’s policy. U.S.
Const. art. VI, cl. 2. Plaintiffs are not arguing for a new rule; their claim
is that Title IX barred recipients from allowing biological males to
compete on girls’ track teams all along. There is nothing improper

about Plaintiffs’ effort to align their athletic records with Title IX’s
longstanding requirements.

IV.   Pennhurst’s notice requirement doesn’t apply. Regardless,
      Defendants had sufficient notice.
      Defendants say Pennhurst’s notice requirement bars Plaintiffs’
nominal-damages claim because they were trying to comply with Title



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IX—not violate it. Defs.Br.58, 65. But nearly every funding recipient
could say that it intended to follow Title IX even if it ultimately failed.
Nor can Defendants evade liability by arguing that Title IX’s require-
ments weren’t clear: “adequate notice” under Davis isn’t a lesser form of
qualified immunity.

     “Pennhurst does not bar a private damages action under Title IX
where the funding recipient engages in intentional conduct that violates
the clear terms of the statute.” Davis v. Monroe Cnty. Bd. of Educ., 526
U.S. 629, 642 (1999) (emphasis added). So the question is whether
recipients engaged in “intentional actions” that Congress “sought by
statute to proscribe.” Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S.
60, 75 (1992) (emphasis added).
     A recipient’s conduct, not the alleged Title IX violation itself, must
be intentional. Official regulations like CIAC’s policy here are “always—
by definition—intentional.” Jackson v. Birmingham Bd. of Educ., 544
U.S. 167, 183 (2005). That deliberativeness is enough to prove inten-
tionality; Pennhurst doesn’t require Congress to “specifically identify

and proscribe each condition” that violates Title IX. Id. at 183 (cleaned
up); accord Intervenors.Br.36 n.19.
     Because Plaintiffs alleged “intentional conduct that violates [Title
IX’s] clear terms,” which have long barred sex discrimination—includ-
ing unequal athletic benefits and not effectively accommodating girls’
athletic abilities, Pennhurst’s notice requirement doesn’t apply. Barnes


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v. Gorman, 536 U.S. 181, 187 (2002) (emphasis added). Yet Defendants
“have been on notice that they could be subjected to private suits for
intentional sex discrimination under Title IX since 1979.” Jackson, 544
U.S. at 182. So they’ve had notice for over 40 years.
     Defendants cannot achieve a different result by ignoring Franklin,

Davis, Jackson, and Barnes, and appealing to “Pennhurst’s motivating
principles.” Defs.Br.72. Nor do other holdings support their proposed
rule.2 The decision in Arlington Central School District Board of

Education v. Murphy, 548 U.S. 291, 300 (2006), merely holds that a
different statute failed to give recipients notice they could be liable for a
certain remedy—“costs of experts or consultants.” And Cummings ruled
that Title IX recipients have notice they “will be subject to the usual
contract remedies in private suits.” 142 S. Ct. at 1571. Yet where a
breach of contract causes damage “but recovery for that loss is
precluded” by a failure of proof or some other reason, the usual rule is
that “the injured party will nevertheless get judgment for nominal
damages.” Restatement (Second) of Contracts § 346 (1981).


2 The only case that arguably helps Defendants is Horner v. Kentucky
High School Athletic Association, 206 F.3d 685, 693 (6th Cir. 2000). But
the Sixth Circuit declined to adopt a particular standard for “‘intent
under Title IX when a facially neutral policy is challenged” because the
plaintiffs there “fail[ed] to establish a violation of Title IX.” And
Horner’s dicta isn’t persuasive because the Sixth Circuit weighed in
before Jackson and Barnes. So it missed the Supreme Court’s focus on
intentional conduct, rather than intentional discrimination.


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V.   The merits of Plaintiffs’ Title IX allegations aren’t before
     the Court. Nevertheless, Plaintiffs have answers to
     Intervenors’ improper merits claims.
     The en banc Court instructed the parties to brief only three issues:
(1) injury in fact, (2) redressability, and (3) Pennhurst notice. None of
those issues depend on the plausibility of Plaintiffs’ Title IX claims.
Defs.Br.17 n.18. Yet Intervenors spend most of their brief arguing the
merits. Intervenors.Br.36–60. That is improper, as Intervenors
essentially admit. Intervenors.Br.36. Courts must assume plaintiffs’
success on the merits in determining jurisdiction. En.Banc.Br.2 n.1, 53
n.10. So the Court should decline to consider Intervenors’ merits argu-
ments, which Plaintiffs have not briefed.
     Notably, the U.S. Department of Education concluded that
Defendants violated Title IX by discriminating against female student-
athletes. Off. of Civ. Rts., U.S. Dep’t of Educ., Revised Letter of
Impending Enforcement Action (Aug. 31, 2020), https://perma.cc/T3B2-
S5X5. That enforcement letter has since been rescinded. But, if nothing
else, it shows that Plaintiffs’ Title IX allegations are plausible.
     For present purposes, it suffices to say that Plaintiffs have
answers to Intervenors’ merits arguments and briefly describe a few,
reserving full argument for remand. First, Intervenors claim that Title

IX is agnostic on the definition of “sex.” Intervenors.Br.38–40. But, in
the 1970s, the ordinary meaning of “sex” was biological, “immutable,”
and determined by “birth.” E.g., Frontiero v. Richardson, 411 U.S. 677,


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686 (1973). Title IX and its implementing regulations adopt that view,
speaking in binary terms. E.g., 20 U.S.C. § 1681(a)(2) (referring to “one
sex” or “both sexes”); 20 U.S.C. § 1681(a)(6)(B) (addressing organiza-
tions for “Boy[s]” and “Girl[s]”); 34 C.F.R. § 106.41(b) (allowing “sepa-
rate teams for members of each sex”); 34 C.F.R. § 106.41(c) (requiring

recipients to “effectively accommodate the interests and abilities of
member of both sexes”).
     Second, Intervenors cannot rely on instances where only one coed
sports team exists to dispute the plausibility of Plaintiffs’ Title IX
claims. Intervenors.Br.45–47. This case concerns sex-based boys’ and
girls’ track teams. All students may participate in one team or the
other. Contra Intervenors.Br.51. The question is whether biological
males may compete on the girls’ track team without depriving biological
females of equal athletic opportunities and effective accommodation of
their abilities. Plaintiffs’ argument that they cannot is certainly
plausible, as “[p]hysical differences between men and women . . . are
enduring,” “the two sexes are not fungible,” United States v. Virginia,

518 U.S. 515, 533 (1996) (cleaned up), and sex-based treatment is
sometimes “absolutely necessary to the success of the [educational]
program,” 118 Cong. Rec. 5,807 (statement of Sen. Bayh).
     Third, Intervenors recognize that Title IX requires “[s]ex-
separated teams in non-contact sports such as track and field” if, for
example, biological girls “do not possess sufficient skill to be selected for


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a single integrated team or to compete actively on such a team if
selected.” Intervenors.Br.49 (quotation omitted). Yet Plaintiffs’ allega-
tions fall directly into this mold. App.139–47. Intervenors simply ask
this Court to reject Plaintiffs’ plausible allegations, which is disallowed
on a motion to dismiss.

     Last, Intervenors dispute Plaintiffs’ Title IX claims based on
aggregate-group-level effect. Intervenors.Br.53. But Plaintiffs plausibly
alleged that CIAC’s policy resulted in biological girls receiving one first
place recognition out of 14 state championship events, while biological
males captured 13. App.159. And Plaintiffs alleged that at certain state-
level championship events, biological males received 68 opportunities to
participate, whereas girls received only 40. App.159. This shows aggre-
gate effect. App.163. It also demonstrates that Defendants’ “treatment,
benefits or opportunities are not equivalent in kind, quality, or availa-
bility, for members of both sexes.” Intervenors.Br.58 (quotations
omitted).

                             CONCLUSION
     This Court should hold that Plaintiffs had Article III standing

when this case was filed, the case isn’t moot, and Pennhurst’s notice
requirement doesn’t bar Plaintiffs’ nominal-damages claim. And it
should reverse and remand with instructions for the district court to
issue a merits ruling promptly, without additional delay.




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                                      Respectfully submitted,

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May 4, 2023




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                    CERTIFICATE OF SERVICE

     I hereby certify that on May 4, 2023, this brief was filed
electronically with the Clerk of the Court for the United States Court of

Appeals for the Second Circuit through the Court’s CM/ECF system. I
certify that all participants in the case who are registered CM/ECF
users will be served by the appellate CM/ECF system.




                                       /s/ John J. Bursch
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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Circuit Rule 32(c)
because, excluding the portions exempted by Fed. R. App. R. 32(f), this

brief contains 6,201 words.
     This brief also complies with the typeface requirements of Fed. R.
App. P. 32 (a)(5) and the type-style requirements of Fed. R. App. P.
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typeface using Microsoft Word in 14-point Century Schoolbook font.



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Dated: May 4, 2023




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